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                            UNITED STATES DISTRICT COURT
 12
                         SOUTHERN DISTRICT OF CALIFORNIA
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 14
      Ms. L. et al.,                                     Case No. 18-cv-00428-DMS-
 15                                                      MDD
                           Petitioners-Plaintiffs,
 16
      v.
 17
                                                         Date Filed: April 27, 2018
 18
      U.S. Immigration and Customs Enforcement
      (“ICE”); U.S. Department of Homeland Security
 19   (“DHS”); U.S. Customs and Border Protection
 20
      (“CBP”); U.S. Citizenship and Immigration          PLAINTIFFS’ NOTICE OF
      Services (“USCIS”); U.S. Department of Health      MOTION AND MOTION TO
 21   and Human Services (“HHS”); Office of              FILE RESTRICTED
 22
      Refugee Resettlement (“ORR”); Thomas               DECLARATIONS
      Homan, Acting Director of ICE; Greg
 23   Archambeault, San Diego Field Office Director,
 24   ICE; Joseph Greene, San Diego Assistant Field
      Office Director, ICE; Adrian P. Macias, El Paso
 25   Field Director, ICE; Frances M. Jackson, El Paso
 26   Assistant Field Office Director, ICE; Kirstjen
      Nielsen, Secretary of DHS; Jefferson Beauregard
 27   Sessions III, Attorney General of the United
 28   States; L. Francis Cissna, Director of USCIS;
      Kevin K. McAleenan, Acting Commissioner of
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  1   CBP; Pete Flores, San Diego Field Director,
      CBP; Hector A. Mancha Jr., El Paso Field
  2   Director, CBP; Alex Azar, Secretary of the
  3   Department of Health and Human Services;
      Scott Lloyd, Director of the Office of Refugee
  4   Resettlement,
  5

  6                         Respondents-Defendants.
  7

  8

  9   Spencer E. Amdur (SBN 320069)
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  1         Plaintiffs respectfully request that the Court permit the filing of restricted
  2   declarations.
  3         The declarations, which are attached to Plaintiffs’ Reply in Support of the
  4   Motion for Class Certification as Exhibits 21, 22, 23, 24, 25, and 26 contain the full
  5   names of asylum seekers seeking protection. For their privacy and safety, Plaintiffs
  6   request permission to file unrestricted declarations with their full names redacted
  7   and permission to file declarations with the names under seal. The declarations are
  8   identical except for the inclusion of their full names.
  9

 10   Dated: April 27, 2018                       Respectfully Submitted,
 11                                               /s/ Lee Gelernt
 12   Bardis Vakili (SBN 247783)                  Lee Gelernt*
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